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     Federal Public Defender
 2   Nevada State Bar No. 11479
     KATE BERRY
 3   Assistant Federal Public Defender
     Nevada State Bar No. 14346
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 5   (775) 321-8451/Phone
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 6   Kate_Berry@fd.org

 7   Attorney for PAUL PRESLEY REED

 8
                                UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF NEVADA
10
11
     UNITED STATES OF AMERICA,                           Case No. 3:19-cr-00001-RCJ-CLB
12
                   Plaintiff,
13                                                       ORDER ON STIPULATION
            v.                                           TO CONTINUE REVOCATION
14                                                       HEARING
     PAUL PRESLEY REED,
15                                                       (SIXTH REQUEST)
                   Defendant.
16
17
            IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
18
19   VALLADARES, Federal Public Defender and KATE BERRY, Assistant Federal Public

20   Defender, counsel for PAUL PRESLEY REED and CHRISTOPHER CHIOU, Acting United
21   States Attorney, and RANDOLPH J. ST. CLAIR, Assistant United States Attorney, counsel for
22
     the UNITED STATES OF AMERICA, that the Initial Appearance regarding Revocation of
23
     Supervised Release hearing set for November 16, 2021, at 11:00 AM, be vacated and continued
24
25   to May 16, 2022, at 3:00 PM.

26          ///
       Case 3:19-cr-00001-RCJ-CLB Document 35 Filed 10/28/21 Page 2 of 3




 1         This Stipulation is entered into for the following reasons:
 2         1.     This is a joint request by counsel for defendant PAUL PRESLEY REED and
 3                counsel for the Government.
 4         2.     The state criminal charges pending against Mr. Reed, which form one of the
 5                basis of the alleged violation of his supervised release conditions, have yet to
 6                be adjudicated. Should the state case be adjudicated before the revocation date
 7                in the instant case, the parties will notify the Court.
 8         3.     The additional time requested by this Stipulation is reasonable pursuant to
 9                Federal Rule of Criminal Procedure 32.1(b)(2), which states that the “court
10                must hold the revocation hearing within a reasonable time.”
11         4.     Mr. Reed is not detained.
12         5.     The parties agree to the continuance.
13         6.     This is the sixth request for a continuance.
14         DATED this 22nd day of September, 2021.
15
       RENE L. VALLADARES                                 CHRISTOPHER CHIOU
16     Federal Public Defender                            Acting United States Attorney
17
     By /s/ Kate Berry                .              By    /s/ Randolph J. St. Clair             .
18      KATE BERRY                                        RANDOLPH J. ST. CLAIR
        Assistant Federal Public Defender                 Assistant United States Attorney
19      Counsel for                                       Counsel for the Government
        PAUL PRESLEY REED
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         Case 3:19-cr-00001-RCJ-CLB Document 35 Filed 10/28/21 Page 3 of 3




 1                                            ORDER
 2          Based on the Stipulation of counsel, and good cause appearing,
 3          IT IS THEREFORE ORDERED that the Initial Appearance regarding Revocation
 4
     Hearing currently set for November 16, 2021, at 11:00 AM, be vacated and continued to May
 5
     16, 2022, at 3:00 PM.
 6
 7
 8                      28th day of October, 2021.
            DATED this ______

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11                                              _________________________________
                                                UNITED STATES MAGISTRATE JUDGE
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